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Exhibit B
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The Blind Watchmaker

 

Paley knew that it needed a special explanation; Darwin knew it,
and I suspect that in his heart of hearts my philosopher companion
knew it too. In any case it will be my business to show it here. As for
David Hume himself, it is sometimes said that that great Scottish
philosopher disposed of the Argument from Design a century before
Darwin. But what Hume did was criticize the logic of using apparent
design in nature as positive evidence for the existence of a God. He did
not offer any alternative explanation for apparent design, but left the
question open. An atheist before Darwin could have said, following
Hume: ‘I have no explanation for complex biological design. All I know
is that God isn’t a good explanation, so we must wait and hope that
somebody comes up with a better one.’ I can’t help feeling that such a
position, though logically sound, would have left one feeling pretty
unsatisfied, and that although atheism might have been /ogically
tenable before Darwin, Darwin made it possible to be an intellectually

 
 
 
 
 
 
 
 
 
 
 
 
 
 
 

 

fulfilled atheist. I like to think that Hume would agree, but some of his
writings suggest that he underestimated the complexity and beauty of
biological design. The boy naturalist Charles Darwin could have
shown him a thing or two about that, but Hume had been dead 40 years
when Darwin enrolled in Hume’s university of Edinburgh.

[have talked glibly of complexity, and of apparent design, as though
it were obvious what these words mean. In a sense it is obvious — most
people have an intuitive idea of what complexity means. But these
notions, complexity and design, are so pivotal to this book that | must
try to capture a little more precisely, in words, our feeling that there is
something special about complex, and apparently designed things.

So, what is a complex thing? How should we recognize it? In what
sense is it true to say that a watch or an airliner or an e€arwig or a person
is complex, but the moon is simple? The first point that might occur to
us, as a necessary attribute of a complex thing, is that it has a
heterogeneous structure. A pink milk pudding or blancmange is simple
in the sense that, if we slice it in two, the two portions will have the
same internal constitution: a blancmange is homogeneous. A car is
heterogeneous: unlike a blancmange, almost any portion of the car is
different from other portions. Two times half a car does not make a cat.
This will often amount to saying that a complex objcct, as opposed toa
simple one, has many parts, these parts being of more than one kind.

Such heterogencity, or ‘many-partedness’, may be a necessary con-
dition, but it is not sufficient. Plenty of objects are many-parted and
heterogeneous in internal structure, without being complex in the
sense in which I want to use the term. Mont Blane, for instance,
consists of many different kinds of rock, all jumbled together in such a

  
